oOo eo SN BO UO SF BH

10
il
12
13
14
15
16
17
18
19
20
21

23
24
25
26
27
28

 

Case 1:20-cr-02005-SMJ ECFNo.1 filed 02/11/20 PagelD.1 Page 1 of 2

William D. Hyslop

United States Attorney

Eastern District of Washington
Benjamin D. Seal

Assistant United States Attorney
402 E. Yakima Ave., Ste. 210
Yakima, WA 98901-2760
Telephone: (509) 454-4425

FILED IN THE U.S. DISTRICT COUR
S. T
EASTERN DISTRICT OF WASHINGTON

FEB 11 2020

SEAN F. MCAVOY, CLERK
, DEPUTY

UNITED STATES DISTRICT COURT. YAKIMA, WASHINGTON
FOR THE EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,
Plaintiff,
Vv.
KATHLEEN JOY YALLUP,

Defendant.

The Grand Jury charges:

 

1:20-CR-2005-SMJ
INDICTMENT

18 U.S.C. §§ 113(a)(3), 1153
Assault with a Dangerous Weapon

On or about January 10, 2020, in the Eastern District of Washington, within

the external boundaries of the Yakama Nation, in Indian Country, the Defendant,

KATHLEEN JOY YALLUP, an Indian, did knowingly assault R.A. W. with a

H

H

INDICTMENT- 1
aA DB Ww Se WB bt

oo

 

Case 1:20-cr-02005-SMJ ECFNo.1 filed 02/11/20 PagelD.2 Page 2 of 2

dangerous weapon, to wit: a knife, with intent to do bodily harm, all in violation of

18 U.S.C. §§ 113(a)(3), 1153.
DATED this 11th day of February, 2020.

A TRUE BILL

F o1epérson -

William D. Hyslop
United States Attorney

Thomas J. Hanlon
Supervisory Assistant United States Attorney

Benjapfin D. Seal
Assistant United States Attorney

INDICTMENT- 2
